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                     EXHIBIT W
     Case 2:15-cv-06633-CAS-SS   Document
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 1       UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
 2       ------------------------------x


 3       UNITED STATES OF AMERICA,                       New York, N.Y.

 4                    v.                                 16 Cr. 0746(PKC)

 5       DAVID BERGSTEIN,

 6                         Defendant.

 7       ------------------------------x
                                                         February 28, 2018
 8                                                       9:36 a.m.
         Before:
 9
                                   HON. P. KEVIN CASTEL,
10
                                                         District Judge
11
                                        APPEARANCES
12
         GEOFFREY S. BERMAN
13            Interim United States Attorney for the
              Southern District of New York
14       BY:  EDWARD IMPERATORE
              ROBERT ALLEN
15            ELISHA KOBRE
                   Assistant United States Attorneys
16
         BIENERT, MILLER & KATZMAN, PLC
17            Attorneys for Defendant
         BY:  THOMAS H. BIENERT, JR.
18            ANTHONY R. BISCONTI

19       SATTERLEE STEPHENS LLP
              Attorneys for Defendant
20       BY: ANDREW L. FISH

21                  - also present -

22       Ellie Sheinwald, U.S. Paralegal Specialist
         Sarah Emmerick, U.S. Paralegal Specialist
23       Caroline K. Howland, Defense Paralegal Specialist

24       SA Shannon Bieniek, FBI

25


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                                       Bergstein   - cross

 1       A.   I don't see the cash.          Where is it?

 2       Q.   Up at the top.

 3       A.   Where?    Oh, yes.     $736.

 4       Q.   And I think we also saw some credit card records showing

 5       payments to someone named Bruce Crispin?

 6       A.   You expect me to remember credit card records that you

 7       showed during this process?

 8       Q.   Do you know who Bruce Crispin is?

 9       A.   He is a dentist.

10       Q.   Whose dentist?

11       A.   He is the dentist for multiple people in the office.

12       Q.   Sir, is Pineboard a code word for spending money on

13       yourself?

14                   MR. BIENERT:     Objection.     Argumentative.

15                   THE COURT:     Sustained.

16       Q.   Let's, if we can look now at the March 6, 2012 transfer

17        from Swartz IP, let's look at Government Exhibit 341.              This is

18       an e-mail from you to Sean Edrington and someone named Alisa

19       Lilely at Deutsche Bank March 6, 2012.             If we can look at the

20       wires, please?      And we see transfers here of $300,000 to

21       Wells Fargo for Integrated Administration.            What is the purpose

22       you state?

23       A.   Pineboard funding.

24       Q.   And a $20,000 wire to Eugene Scher ATF, the Bergstein

25       trust.    What is the purpose that you write?


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